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ALTOBELLO, TED L. KOEHLER,
JR. AND ROBERT J. KOEHLER
D/B/A TED KOEHLER MUSIC
COMPANY, SAM ARLEN D/B/A
S.A. MUSIC COMPANY,
CHAPPELL & CO., INC.2 SONGS OF
PEER, LTD., DUBOSE & DOROTHY
HEY WARD MEMORIAL FUND
PUBLISHING, GEORGE
GERSHWIN MUSIC, IRA
GERSHWIN MUSIC AND FRANK
MUSIC CORP.,

Plaintiffs,

Vv.

EAST COAST FOODS, INC.,
SHORELINE FOODS, INC. AND
HERBERT HUDSON,

Defendants.

 

 

 

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NOTICE OF INTERESTED PARTIES
[LOCAL RULE 7.1-1]

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
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WB MUSIC CORP., ELVIRA JF |
KOEHLER, CAROLYN

 
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Pursuant to Local Rule 7.1-1, Plaintiffs submit the following Notice of
Interested Parties.

The undersigned, counsel of record for plaintiffs, certifies that the following
listed parties have a direct, pecuniary interest in the outcome of this case. These

representations are made to enable the Court to evaluate possible disqualification or

INTERESTED PARTIES

. The American Society of Composers, Authors and Publishers

(“ASCAP”), a performing rights licensing organization of which

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plaintiffs are members.

- WB Music Corp., plaintiff and copyright owner, wholly owned by

publicly owned Warner Music Group Corp.

. Elvira Koehler, Carolyn Altobello, Ted L. Koehler, Jr. and Robert J.

Koehler d/b/a Ted Koehler Music Company, plaintiff and copyright

owner.

Sam Arlen d/b/a S.A. Music Company, plaintiff and copyright owner.

5. Chappell & Co., Inc., plaintiff and copyright owner, wholly owned by

publicly owned Warner Music Group Corp.

Songs of Peer, Ltd., plaintiff and copyright owner.

Dubose & Dorothy Heyward Memorial Fund Publishing, plaintiff and
copyright owner.

George Gershwin Music, plaintiff and copyright owner.

Ira Gershwin Music, plaintiff and copyright owner.

10. Frank Music Corp., plaintiff and copyright owner.
11. East Coast Foods, Inc., defendant.

12. Shoreline Foods, Inc., defendant.

 
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13. Herbert Hudson, defendant.

Dated: February 19, 2010 ARNOLD & PORTER LLP
SHARON DOUGLASS MAYO
DANIKA B. VITTITOE
VIKRAM SOHAL
EMILIA PETERSEN

By: i
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Attorneys for Plaintiffs

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